Case 0:19-cr-60256-WPD Document 7 Entered on FLSD Docket 09/11/2019 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 0:19-mj-06417-LSS-1

 UNITED STATES OF AMERICA
           Plaintiff,
 v.

 GABRIEL ALBALA,
             Defendant.
 __________________________________/

                             NOTICE OF APPEARANCE
              MICHAEL B. COHEN, Attorney at Law, Michael C. Cohen P.A., 6400 N.
 Andrews Avenue, Suite 505, Fort Lauderdale, Florida 33309, hereby files this Notice of
 Appearance for GABRIEL ALBALA in the above captioned case.



 Dated: September 11, 2019


                                               Respectfully submitted,
                                               S/ Michael B. Cohen, Esq.
                                               _________________________
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